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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION


  VIRNETX INC., and                         §
  LEIDOS, INC.,                             §
                                            §
      .
  Plaintiffs,                               §
                                            §            No. 6:12-cv-00855-RWS
  v.                                        §
                                            §
  APPLE INC.,                               §
                                            §          JURY TRIAL DEMANDED
  Defendant.                                §
                                            §

                                         ORDER

        The Court, having considered Defendant Apple Inc.’s Unopposed Motion to Modify the

 Accounting Deadline (Docket No. 810), finds that the motion should be GRANTED.

         SIGNED this 15th day of October, 2018.



                                                      ____________________________________
                                                      ROBERT W. SCHROEDER III
                                                      UNITED STATES DISTRICT JUDGE
